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Susman Godfrey l.l.p.

January 16, 2025
Hon. Ona T. Wang
Southern District of New York
500 Pearl Street
New York, New York 10007

               Re:     The New York Times Company v. Microsoft Corporation, et al.,
                       No.: 23-cv-11195-SHS: Opposition to OpenAI’s Motion to Compel (Dkt.
                       394)
Dear Magistrate Judge Wang:
       OpenAI spends a great deal of ink addressing The Times’s alleged “refusal to produce
documents in its possession, custody or control from its business licensing consultant David B.
Kogan,” a third party consultant living in the United Kingdom, on the premise that it needs this
discovery to defend this case. ECF 394 at 1. Yet, The Times has already agreed to produce
responsive, non-privileged documents in its custody regarding the licensing of its asserted works
for LLM training, including negotiations over such licenses. See ECF 333 at 2.
        As The Times has explained to OpenAI, the documents it seeks from David Kogan in ECF
394 are entirely duplicative, because Mr. Kogan was retained to provide advice about negotiation
tactics to Times executives who are already custodians in this case–most notably, Rebecca
Grossman-Cohen and Sam Felix, who lead The Times’s negotiations for AI partnership (including
negotiations with OpenAI and Microsoft). See ECF 330 at 2. That is why OpenAI has documents
involving Mr. Kogan to begin with. He was not hired to provide written reports or analyses for
The Times. See Declaration of K. Peaslee ¶ 3.
        Nevertheless, in an effort to resolve this dispute, The Times reached out to Mr. Kogan to
inquire whether he has any documents regarding his consulting for The Times related to generative
AI or that would otherwise constitute materials to which The Times is entitled under his agreement
with The Times. Ex. A (1/16 Peaslee Email). Mr. Kogan represented that he has no such
documents. Id.; Peaslee Decl. ¶ 3. Accordingly, The Times has satisfied its discovery obligations
with respect to OpenAI’s requested documents. See Mason Tenders Dist. Council of Greater New
York v. Phase Constr. Servs., Inc., 318 F.R.D. 28, (S.D.N.Y. 2016) (noting that a third party’s
“good faith averment that the items sought simply do not exist, or are not in his possession,
custody, or control, should resolve the issue of failure of production since one ‘cannot be required
to produce the impossible’” (quoting Menard v. Chrysler Grp. LLC, 2015 WL 5472724, at *1
(S.D.N.Y. July 2, 2015))).


                                                     Respectfully submitted,

                                                     /s/ Ian B. Crosby
                                                     Ian B. Crosby
                                                     Susman Godfrey L.L.P.
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                                                /s/ Steven Lieberman
                                                Steven Lieberman
                                                Rothwell, Figg, Ernst & Manbeck

 cc:   All Counsel of Record (via ECF)
